                              UNITED STATES DISTRICT COURT FOR THE
                                    SOUTHERN DISTRICT OF IOWA

     UNITED STATES OF AMERICA                                         NO.4:21-cr-103



                                                                      CERTIFICATION IN SUPPORT OF
            v.
                                                                      AUTHENTICITY OF BUSINESS RECORDS
                                                                      AND OTHER EVIDENCE
     CARL MURPHY,
     Also known as, P,
     Also known as, C-Note,
                  Defendant.




          Jamaal C. King, being duly sworn, based on information                 and belief, deposes and states:

1.      I am a Supervisory      Special Agent (SSA) with the Federal Bureau of Investigation                  (FBI),

currently serving within the Telecommunications               Intercept & Collection Technology             Unit

(TICTU), Operational Technology              Division (OTD) in Quantico, Virginia. The TICTU is

responsible for the development,          deployment,      and support of lawfully authorized wireline and

wireless electronic surveillance         capabilities.   I hold a Master of Science in Information           Systems

and a Bachelor of Science in Computer Science, both from the University of Maryland Baltimore

County.

2.     I am filing this certification      to satisfy Federal Rules of Evidence 902(11)1 and 902(14).

3.     The authorized surveillance         in this case includes those collections        performed through the

assistance of a wireless telecommunications              service provider (Provider) pursuant to the

Communications        Assistance for Law Enforcement            Act (CALEA)2. CALEA requires providers to

have the ability to perform electronic surveillance pursuant to a court order or other lawful



I "The reference to the 'certification requirements of Rule 902(1 I) or (12)' is only to the procedural requirements for

a valid certification. There is no intent to require, or permit, a certification under this Rule to prove the requirements
of Rule 803(6)." Fed. R. Evid. 902(14) Advisory Committee's note to 2017 amendment.
247 U.S.C. §§1001-1010         (1994).
                                                                                                                GOVERNMENT
                                                                                                                  EXHIBIT

                                                                                                                        2
                                                                                                             CM_000253
authorization. Under the CALEA model, the provider performs the authorized intercept while

providing the communication to law enforcement for collection.

4.    The FBI receives the authorized intercept from the provider over two separate channels.

The Call Content Channel (CCC) delivers the audio related to an authorized phone call. The Call

Data Channel (CDC) delivers the Pen Register and Trap and Trace (PR IT) data related to the

authorized calls as well as other forms of data, such as Short Message Service (SMS)

communications. The CCC and CDC are both received within the FBI's telephony collection

system which is run and managed by the TICTU. The collection systems are physically located

in areas within FBI field offices known as Central Monitoring Plants (CMPs). Access to CMPs is

restricted to technical personnel who locally maintain the collection systems. Users of the

collection system (also known as monitors) are granted access to review information in the

collection system by technical personnel at the direction of the responsible Case Agent and do

not have the ability to alter or manipulate the collected data.

5.   At the termination of a phone call and upon the receipt of an SMS text message, the

collected data is hashed and proprietary software is utilized to assign a unique digital signature to

each call and text message. A hash is a mathematical function that provides a unique value for a

given piece of data. The digital signature is an additional step employed by the telephony

collection system to maintain the authenticity and integrity of the collected data. Altering any

element of the CCC and CDC associated with a call would change the hash value associated with

the call and the unique digital signature would not remain intact. A hash value is a number that is

often represented as a sequence of characters and is produced by an algorithm based upon the

digital contents of a drive, medium, or file. Similarly, altering any element of the CDC

associated with a text message would change the hash value associated with the text and the




                                                                                           CM_000254
unique digital signature would also not remain intact.

6.    I have been requested to verify the authenticity of wireless communications to be presented

within the above captioned case. The TICTU's collection system was working as designed

during the dates of collection in this case.

7.    I have reviewed the data associated with all of the calls and text messages in this case. All

of the digital signatures and hash values have been verified as being intact for the following

telephone numbers: 515-238-8940, 515-305-5202, 515-344-0682, 515-661-0508, 773-595-1317,

and 872-731-9239.

8.   Therefore, the original sessions and the exhibits to be introduced are an exact match

because the hash values match and the digital signatures are intact.




       Pursuant to 28 U.S.c. §1746, I declare under penalty of perjury that the foregoing is true
and correct.
EXECUTED: October 25, 2022.




                                                   ~c..~
                                                    amaaIC:King
                                                      Supervisory Special Agent, FBI




                                                                                         CM_000255
